          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 1 of 11



              Martha Cuervo
                                     12-14198-Civ-Moore/Lynch                                    m
                                                                                            =
              Debtor Pro Se                                                                 eo   CD
              625 SW Seagull Terrace                                                        c    çr
                                                                                            c    -<
              Port St Lucie, FL 34953                                                       =    h
                                                                                             j   '
               (9..
                  <#-732-7JJo)
                                   IN THE UNITED STATES DISTRICT COURT

                                  FOR THE SOUTHERN DISTRICT OF FLORIDA


              Martha Cuervo,

                                  Petitioner,                COMPLAINT



              HSBC Card Services, Inc.                       JUDGE :
              HSBC Bank, Nevada, N .A .
              Credit One Bank

                                  Defendants



                    COMES NOW Plaintiff, Martha Cuervo, Pro Se,




                                  Section 1681, et seq ., violations of the Bankruptcy

              Judge's                                                      Trade Commission.

                    In support of her claims,         plaintiff states       following:

                                          JURISDICTION & PARTIES

                                 Court has                                      this matter

              pursuant to             Section         actionable through 28 U .S .C . Section

              1331, and other provisions of the law .

                            Venue is proper in this court for the reason that the events

                                                                            in this judicial
              district.



              of Florida.

                            Defendants HSBC Bank and it's affiliate HSBC Bank, Nevada, N .A .,




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1 of 11
          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 2 of 11



               (hereinafter collectively 'AHSBC Defendants'') are corporations with
              principal places of businesses in Illinois and Nevada, and are doing business

              in the state of Florida .
                            Defendant Credit One Bank                                 is a

              corporation headquartered

              Florida and elsewhere.

                                               CAUSE OF ACTION
                            VIOLATIONS OF THE FAIR CREDIT REPORTING ACT IFCRAI

                             Plaintiff     a natural person and a ''consumer'' within

              meaning of 15           Sections l68la tbland               F.C.R.A .


              of 15 U.S.C. Section l68la(r )(1)
                                                                 eredit cards within the

              meaning of 15          Section 1681a(r         on or about March,       and May,



                             Credit One

                      Section 1681a(r )(l)(A).
                                          issued plaintiff a credit card within the meaning

               of 15 U.S.C. Section 1681a(r         on or about June,
                             Plaintiff claimed bankruptcy on September 27,

                                                  Southern District of Florida, Case

               10-39068 .

                            Plaintiff's
                             HSBC Defendants and Credit One were 50th listed as creditors



                                                                                  report and

               has applied for

                             Alpine Access Recruiting,

                                          has repeatedly                          she cannot
                                                    Page 2

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2 of 11
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 4        Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 3 of 11



              be

              8S                                             $0 balance.


              times beginning in January, 2011,                                             the

              credit

                                                                          balance.



                                                                                            the

                                                                        nAccount was sold the

              SHERMANZ' (See Exhibit *'A'' attached hereto.)




              loan has

                                                                    clear that a debt

              discharged                                            -   O- balance .

              Section 607, Item 6 states:

              was discharged in bankruptcy

                     reports a zero balance due to reflect the fact that the consumer is

                   lonqer

                            Defendants HSBC and Credit One failed to employ reasonable

                                                                 the accuracy of the

              erroneous negative data upon notification by plaintiff that such information

              is erroneous,

                       F.C.R.A .

                                                                                 investigate

              the accuracy of                                                     168ls2-b .

                            Defendants HSBC and Credit One are in violation of 15 U .S.C .

                                                                                they have

              reasonable cause                                            notice by consumer
                                                 Page 3

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3 of 11
          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 4 of 11



                                        in fact, inaccurate.

                            Defendants HSBC and Credit One are

                                                reporting information after notice and

                                                      knowledge of

                            Defendants HSBC and Credit One are

                                                                     update Plaintiff 's

                                             such updates to consumer reporting agencies .

                            Defendants HSBC and Credit One are

              Section 1681s-2(3)
              consumer reporting agencies that such reports are disputed.

                            Defendants HSBC                              their actions and

              inactions caused great and irreparable



                             Section 1681n

                            Defendants HSBC



              actions.

                            Defendants HSBC

              flawed and

                                                                        dispute .

                            Defendants HSBC and Credit One's documentation systems do

                         requirements of the FACTA amendments to the F.C .R .A .

                            Defendants HSBC and Credit One have improperly posted accounts

              and other credit           consumer reporting agencies .

                            In addition to actual and compensatory damages, the Defendants

              HSBC and Credit One are



                    Wherefore,

              Credit One for       actual and reasonable damages
                                                    Page 4

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4 of 11
          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 5 of 11




              and statutory damages

              the court    the

              costs of this action, and for such other and further relief as the court

              shall deem appropriate .

                    Respectfully submitted this




                                                  Martha Cuervo
                                                  Plaintiff Pro Se




                                              Page 5

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5 of 11
          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 6 of 11



              Martha Cuervo
              Debtor Pro Se
              625 SW Seagull Terrace
              Port St Lucie, FL 34953
               (9.< #.7sA -)r3:o
                                     IN THE UNITED STATES DISTRICT COURT

                                    FOR THE SOUTHERN DISTRICT OF FLORIDA


              Martha Cuervo,

                                    Petitioner,                COMPLAINT



              HSBC Card Services, Inc.
              HSBC Bank, Nevada, N.A .
              Credit One Bank

                                    Defendants



                      COMES                                    Pro Se, and alleges and states




              A:Aaj;'#j             Section 1681, et           violations      the Bankruptcy

              Judge's                                                         Trade Commission .

                      In support of her claims, the plaintiff states the following :

                                            JURISDICTION & PARTIES

                                   Court has subject matter jurisdiction over this matter
              pursuant to 15             Section 1681, actionable through 28             Section

                                              of the law .

                              Venue is proper in this court             reason that the events



              district.



              of Florida.

                              Defendants HSBC Bank and it 's affiliate HSBC Bank, Nevada, N .A .,




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6 of 11
          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 7 of 11



              (hereinafter collectively ''HSBC


                      state of Florida.

                             Defendant Credit One Bank (hereinafter ncredit One'')
              corporation headquartered in Las Vegas, Nevada, and          doing business in

                       and elsewhere .

                                              CAUSE OF ACTION
                            VIOLATIONS OF THE FAIR CREDIT REPORTING ACT (FCRA)

                      6.                                                      within the

              meaning of             Sections

                            HSBC Defendants are

              of 15 U.S.C. Section 168la(r
                            HSBC Defendants issued plaintiff credit cards within the



              2005.

                            Credit One is a nCredit Card Issuer'' within the meaning of 15



                            Credit One issued plaintiff a credit card within the meaning

                                                            about June,

                            Plaintiff claimed bankruptcy on September 27,

              United States Bankruptcy Court, Southern District of Florida, Case No .

              10-39068.

                                                                           3, 2011.

                            HSBC                          One were b0th listed as creditors

                                                            Unsecured Creditors.

                                                                                   report and

              has applied



                                         has repeatedly                            she cannot
                                                   Page 2

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7 of 11
          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 8 of 11



              be considered for employment until HSBC and Credit



                            Plaintiff contacted Defendants HSBC and Credit One numerous

                                                   requesting Defendants to report to the



              bankruptcy                                                balance .



              explaining that                              in 7301



              SHERMAN .''




              loan has been sold to a collection agency .

                                                                           that a debt

                                                  listed as having a -O- balance .

                                            ''A consumer report may include an account that

                  discharged in bankruptcy (as well as the bankruptcy itself),
                    reports a zero balance due to reflect the fact that the consumer is

                 longer liable for the discharged

                            Defendants HSBC and                        employ reasonable

              procedures to timely and properly




              of the F.C.R.A .



              the accuracy of                                                   1681s2-b .

                            Defendants HSBC and Credit One are in violation of 15 U .S .C .

                                                                              they have

                                                                        notice by consumer
                                                  Page 3

Demo of StampPDF by Appligent, Inc. http://www.appligent.com
8 of 11
          Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 9 of 11



                                        in fact, inaccurate.

                            Defendants HSBC and Credit One are in

                                                                         after notice and

                                              actual knowledge of

                      24.   Defendants HSBC and Credit One are

                                                                      update Plaintiff ls

                                           such updates to consumer reporting agencies.

                      25.   Defendants HSBC

                        l68ls-2(3)
              consumer reporting agencies that such reports are disputed .

                      26.   Defendants HSBC and Credit One, through their actions and

              inactions



                 15           Section 1681n and 15

                            Defendants HSBC and                              systems

              defective and          comply with the F .C .R .A . and other laws governing its

              actions.

                            Defendants HSBC and



              by plaintiff in                                plaintiff's dispute .

                            Defendants HSBC and Credit One's documentation systems

              meet the requirements of the FACTA amendments to the F.C.R.A .

                            Defendants HSBC and Credit One have improperly posted accounts

              and other credit

                            In addition to actual




                      Wherefore,                                           Defendants HSBC and

                                          and reasonable damages she sustained, including
                                                    Page 4

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9 of 11
           Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 10 of 11




                the court   the

                     of this action, and                              relief as the court

                     deem appropriate .

                     Respectfully submitted this




                                                     .   e *   *
                                                   M artha
                                                      '    Cuervo
                                                   Plaintiff Pro Se




                                               Page 5

Demo of StampPDF by Appligent, Inc. http://www.appligent.com
10 of 11
            Case 2:12-cv-14198-KMM Document 1 Entered on FLSD Docket 06/01/2012 Page 11 of 11




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 11 of 11
